 

 

 

 

 
    
  
    

versus | OF |
Robert S.LESOIK wih,
Jolo St AV moun chen
eaitle . Washing ton i eo mpresme ai eiep

Carol 8. Amon and

Robert C. Heinemenn ong OMPLAINT

    

 

Ralph Veg>
225 Cadman ‘Plaee East ; _ Tuky a.
woklyn, NY VI2ol a oe
Deter Boudin an | DEMANDED
Lynch and. oo

 

Howard ant
Clerito and

Svs Se. rue ae

 

 

 

  
j Case: 1:04-cv-03432 Document #, 1 Filed: 05/14/04 Page 2 of 15 PagelD #:2

  
     

Ww, except as provide
je Clerk of Court for he purpose

i{e) PLAINTIFFS
eC L 2p) v Dep Db

(b). COTY oF RESIDENCE OF FIBST USTED PLAINTIFF

(EXCEPT IN “ene #0 Sz u § a .

UFL This form, approved by the Judicial Cont
1 meting the civil docket sheet (SEE INSTRUCTIO

DOCKE
“MAY 1 7 e004

“COUNTY OF RESSENCE OF FT USTED DEFENNT

IVIL COVER SHEET

lement the filing and service of pleadings Of Other

erence of the

ENDANTS

 
    

MAGISTRA

United States in Se

ve

 

(C) ATroANEYS (FIAM NAME, ADDRESS, AND TELEPHONE NUMBER)
PRI s&

pe Boe 124
EteoY wt |

iL BASIS OF JURISDICTION | (PLACE ANIC IN ONE BOX ONLY),

D1 US. Gow Governmend - (éterl Question —

 

acx04C 3432

UDG NORGLE-

E JUDGE ASHMAN

1 .
NS ON THE REVERSE OF THE FO RM) 574, required fort

Wet S. Ste

reel

   

. (IN U.S; PLAINTIFE STAT r-
LAND OF URE WOES: SASES, usé-Tre LoCnTION.o6 TH

 

 

 

 

198 Conweci Proguct Liability

   

 

 

. xe en (Us. Government Nola Party),
ne US. Govemment ' fe are ;
| Detendera {recta trent Paton cence oe of Incorporated end Principal Pace ta
" Chizen or Subject of a8 08 Foreign ston
— Fotelgn Cou Courmy. 5 ea O6
1V. ORIGIN — "PACE AN 3 ONE BOX ON) — ‘Sha oD
£1 Original 22 Removed from. D 9-Remanded trom a Reinstated or Judge trom
Proceeding Ste Court” Appellate Court OS Reopened =. rama Cletriot ost a7 Magistrate
. V. NATURE OF SUIT — (PLAGE AN XT IN ONE BOX ONLY) oy cel
CONTRACT TORTS FORFEITURE/PENALTY| - BANKRU
Giz Mone 7 ote og PERSONAL INJURY D 810 Aptcunie ig | —arana
, . MPT Personal - 3 Reapporionnass
B te Mew net . - O98 Proguct. Sang te ae iaalpre ion oO / Casco a ;
140 Negotiable instrument . : Pernonal - 8
. Recovery Ovepeyrnans CD 220 Anu, Lips é Prooucl Useiay O 488 Commerce Retenten
Ow Soeur vedtal - D248 Aabesion Personal fe D468 Deponation
: 1D Ws Mecicom fet : 0 990 Fedetat Employer _ Whury Proguct Liabiaty | ——— 08 fecneree, Kiana are
OW oie 1 948 Marien PERSONAL Phorenty | 9 8° Couper oi ey | Deve secae gentce =
(Excl, Veorars} © 348 Marine Product C370 ther Freud 0 890 One Dee : 0 680 Stcuntesscommeciiens
1 9 Recovery of Labily Chart Truth in tending Excnange
of Veleran's Beneiitp 0954 Mott Vehicle: D300 Othet Fenonal LABOR SOCIAL CSET, © 476 Contomet Cratengy
Di 100 Stockhokden' Sule D 258 Motor Vehicle : o Popany amage D710 Feb Le na] em tees nin /
Produc iebiiry NE Damage - 10 bor Sw . sesh) 1 Apticunured
LESAN One Penonat injury ——— Prose ati | acl — 5 s82 blocn: ee © #93 Economic Siabiarason &

 

 

 

 

 

 

 

 

 

 

  

 

 

  

Fae Catto sntigrrerelettorn—!
REAL PROPERTY CIVIL RIGHTS {PRISONER PETITIONS . |G) 666 S80 The o

07 710 Leng Conoemnation 0) 464 Voting | paw Motione to Vacate © 720 Lsboumor Reponing | ) 968 RE tansy | oe ne

Daze Foecoums lt . Q 443 Employment HABE et wus C1 740 Fatway Labor Act 7 0 900 Appest of Fae

De eens ; 046 Cecommadations D 830-General . DERAL TAX SUITS Cte on Eat Acces

ry ; ——
Do 3as ton Proou Liabitty Welane - . £98 Dain Penaty © 700 Other Labor Lhigation 1 070 Taxes (Lik: Prokase * Soemutonamy of
Di 290 8 Cw Beat Property one cum rigees | 0 ase CM Pighms C784 Empi Pet. no. Reese | eee Canes Sensory Acton
TION CRT Oe ee SRTUTE UNDER WeaCr YOU an _~—

Vi CAUSE OF ACTIO | n Pere ND WRITE BRIEF STATEMENT OF CALI,
Wi, REQUESTED IN CHECK IF THISIS A CLASS ACTION DEMAND $ “CHEEK YES only i Oemonded i COTaa
~' COMPLAINT | D UNDER F.R.CR 23 Jury DEMAND: On

VIII. — This case xt not & refiling of a previously dismissed action. Sou a

Dp is a refiling of-case number ;

a IY ol

‘SIGNATURE OF ATTORNEY OF RECORD

previously dismissed by Judge.

ew.l ios cote shel Sy

 

 

he
erimicectrnc {15 PageiD'#S ae

      
  
       

eres R, Auibruage tr
Kim Fovse ‘and
Brown and -

  

ee v Sr
a or
Tew: eres, L3” J0130°

 
  

ue Noblin
34h E Capo sr
— | Dack Son ieessi

   

£, on Gerard Whidbee

- ira “ey, au" Heder of ve

40 Foley yore

 

 

ow) ni, ‘youu?
ee oni ernen on
” and Taine
{AS Th St

* {Sen Francis), Cx)

[Defendants Tom S Lee ad) a

pp! 39201 | —

- [oat enienls John M. Wel keq - 7 os
oseann BMaclechne

 
Case: 1:04-cv-03432 Document #: 1 Filed, 05/14/04 Rage 4 of 45 PagelD #4
eos 7 cata : Do

Sohn Bright and

     
  
 

a |
Rhode Freemen an -
Oe nen Capit al N)
MenegemenT |

4 West Putnam |
Green wich, CF OT”

 

 

Commuity Television
o Prince George's

and
Chere Byrnes and

Gine Nomnond Jorden
q475 Lotts ford Ra |
Lor o, Mervizodl 207A)

“Ginsburg Sentelle. Henderson.

1 Tatel, Garland, . +
: fagan Flogers, 7 Urbina, Sullivan, Robertson,

_Kollar-Kotelly and ee. ; ; |
and race T. werds
333 C a tehitet ton PNe Nw

zshin§ toa, Dt 20001

 
   
   
  
   

ee ro er

 

 

   
  
 
  

 

 
Momc2 onne lt OSid1O4 Page Sof ]s PagelD#:S
|20 Broedwey 21h Floor |
NY NY 16273
+1: Obert E. Gecber
“thy Bowheg Gree
Inew York, NY 10004
raw } Devs...
33 a LOR S, 215k £1
~INIYANN 10004
rok
More Rbrams ard: :
Moras J. (VY) 2Sse lo)
Shelley C. Chapmen |
Wilkie. Fare 2 Gallager)
787 Seventh Py
N2sty Natehe. and = ti‘idL
Brat Sister Ly dhe end.
Mere mother | ond
father and
brother Carlos an
Preferred County Properties
19 Cenrier Sqvere ae
Chothem NY 12037

 
 
  

>

 

 

e

 

 

 

 

ae |

 

 
Case: 1:04-cv-03432 Documen t#: 1 Filed: 05/14/04 Page 6 of 15 PagelD #:6

 

—
Villeye of Chothommy as
Chethem Police

77 Mein SP
Chethem NY |2037
George C. Dixon 24
Jo Ann Di Kon

T] Main SF
Chathom NY 12037
SJemes Sleinbaum

Ig Povle Row |
Chathoin NY 12037

De

 

ey

 

 

, =

fondents ,
—

 

 

 

 

 
Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04 Page 7 of 15 PagelD #:7

Tris Is verifie d comp)eil)
Under’ pa per, oF Per) ory C\enclora
aSsever 2tes he IS elliny Shee
Trvth, The whole ttn and ” nofeing
bot The Tauth * so hélp her Gud.

Az. De Lene! ents nove nok
3. find for This They. are bane

Sued Ur guzrt TO Crimne! ode 1
USC 100 |.

U. This 6 2 Rule 3, Cederal Rules
oF Gu Procedure, Notce complaiat.

5. Glendora: offers The pepers
Theat exhibik The Vole bone oF een de-

fendent. Pefendents Showed no acumen

. Covering up Mer racks.
& This cart hes = stbject- meter |

yunsdichon becavse of federal 4ueston
ond Jor AWErSiby of citltenshep.

4d This Court Nes venue because
This 16 & cwil MVOh ts achon. A
Clud COKig 2chnon can be brovynt in
ony federal Court in The US.

‘i. ~ w& 7
‘Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04. Page 8 of 15 PageID#:8

ents ere Siete
- ables de fol ble to Glendor
under Title 42 LJ <. covle Section

1AB2, clurl Cig his.
q Oi are lable nder

G14 CONSpIrzee4-
g@ \2,

410 By Qu Cnt
of Ciwsl Procedure, Ans Love

Cyiendores aiiepotors 25 oe
Giendor? We
1 Remember Nee

None
B consne Yoblem. Witr et |

2
4 7” ee vies 1d Ht and § 355 2men,

; ote (egel

1s >chon 6 2
2 Tw wave blender on tones

bi
PO ends her Nights | nN & cow Fok

 pa- ca ewil- sagnts pehons

C Annok be Ohimised Uae p laine
| Nes the opportvm y fos

U2Use

o

| Jrcles
Fev re2 ;

— @ctoplr

 
beeen

J.

— Fld — .
(Clre as; 1995 WL 15330 (2 ad Cr. (N.Y)

"GLENDORA, PlaLotiff-Appellaat.

¥,
CABLEYVLSION SYSTEMS
CORPORATION, Charia F, Dolan,
- Willan J. Belk biare AL

Lustgarten, Freoacs Fo vlpb, Jr.,
‘John Tatta, James A. Kofalt, Jasepy

Azzoars, Thomas Garger aod Willlam
Quinn, Defendanis-appellccs.

Nos. 290, 97289.

Ucured Sta:es Coun of Appeus,
Secone Cupuil

Jas. 21, $995.
VAN GRAAFEILAND
*1 Gleadora who prefers to be mown .
simply as ;Glecdora®, appeals from a

Juggmam of the United Sues Distinct Coun
for. the Southern Districts of New York
(Bricans, J.) dismissing her... s¢ complain
pursuant to Fed. R.Civ.P. 12(b)(6) for failure to
_ we sclaim upaa whics relief can bt granu,
many pro se complaints, Gleadora’s is
verbosa where verDOsiry is urceceissary ang
sparse whetc Cami) aicpiacons ae fequires.
However, in view of We well-semed ruc,
particularly applicasic in pro se civil gars
aciion3, ibu a compluar sould So oe
dismissed ° ‘unless if appeam Ocyooa cous
(hak Ge plasotiff can prove oo se: Of faz is
suppor’ of [herlactam whics would esiuse
(bez) to relief,’ * Brau v. Clayc, 927 F.2¢
69S, 705 (26 Cir.t991) (quousg Comey v.
Gibson, $55 U.S. 41, 456 (1957)), we remasa

to Ube disunict coun for furiter cocsidcraies.

Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04 Page 9 of 15 PagelD #:9

-—~ fiduwrce

(Chie as: 19S WL 18830, *3 Cad Cow

Ganie Ccomunicusa Peasy. Ads! 184, yu
accccide acd roppleccciss « wy Cat
Teevision «= Consumer’ Preuecss ats
Competitics Ast-of 1992, codiasy promypety
i 47 U.S.C. Subchapter V-Atof Caunus 5, ft
52}, et wQ. To te exten aPany, cua os:
sae and (ccerd mates ditterathe fecer!
slatuies coach. See Capit ty Cubic, =
v. Crisp, 467 U.S: 692/658-2100" (1984),
Cable Television au'a of New“Yerc. tee ’
Ficssras. 354 P.24.91, 9T-5e- Gs Cyuiget
Toc Whew York Excouuve? Law $rovices tor wes
ippoinims= 2 Of & COmmuses ei poco
OVeIMiget powers els rerpect' > New Yorr
cade operancos, ase’ $§ 814 uss Bs. ace
fegkues (oat casa ryhety be fastes 5

ee Sussigalides ss which: they #e wie

aoe

 

Kivice, § 919. [FN i} lealss co tac ; sat
prosenouos azuicst “Sanaa by we

commision, the mumicipaliry and te: nities
compacy itself, Soe § 8295 Sscoas $3! of 37
U.S.C. prowices for ths erases Of cade
Coasscis for Spudlic, ' Sucaugoy,
goversmestul we" and becUSS S31 (e) sy,
be cadie operuors: exercise Of etna
conirol over these copesely
Case: 1:04-cv-03432,.Document #: 1Filed: 05/14/04 Page 10 of 15 PagelD #:10

\u Dromiscvousty defor dels
Vialeted CY imin a cone je ye
— ¥lva!, Glendora involses |
 UYbO  144L er Se4 | Reece tree |
a Fiverced - Crime orgent ze tons
Scr (( RVCO), To prey

otter
re with Ssveyeet— mee”
nell “an con) une tion with

yer, wirer Bie
No MAGISTRATES
Ip No megistrete |5 to joven

witrouT
Glondore's 2chion in ery ae a ne

59 Use 5 63h : -

1 Giendore hes 2 Coastietion)
nye to an Arrrnele Ww Judge. She

 

 
_ Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04 Page 11 of 15 PagelD #:11

INSIS¥S Ther @ Unihed Shetes

judge reed her Complaint
her (Om plein? and 3) nous ede

This cOmp)emt 1S be edyudicae
oh. ted, decided, deterinined end pro- =
 Prounced judictell ond only Judie rity.

Glendore wit SUffer "nd more

of this Synthetic , arti finel

anid addled -‘oop-yumping by |kid
low oles ani atuminete heeds,

G\endore is. edamant hereon.

«10 The conTOVling phvese
— InN at verve lews 2” Se § Hou >
CS is k hy Tne interest | of

- \ustwe Congres ser whek rH
_inewh and Meank unebit said.

«AB OFeServed
~

4 TE you dot give ine juste
Lf you Tob me of dve process, 1f
Yeu Jo shy of Ms Suaispoore

Case: 1:04-cv-03432 Ddcumen t # 1.Filed: 05/14/04 Page 12 of 15 PagelD #:12

= stuff¢ TL went in maw beck.
Tv -stuff , + Went Yny ee

Tris =IS0 comes ovr 48
Secunty. You heve 4 pb to ao:
re Me

* eon
protest Amerire, & er

sree mes yet 914 0,000

: and the US Cue Now oe

S7me.

‘pus gonvelly +e Achieve S725

“

L 4ct Eederal-Ruler- of-Cival- [veer
. dye defawt judgment, Rue 53, Vo

 
Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04 Page 13 of 15 PagelD #:13

Ore ror va answer Br Tne m-

gt BY Commer \av, Your job
‘Simply te ansue Trer Me viy hE
& both pernes ore protecred n
hen yas Ceese +m db Trbr Y¥ -
lobe yuewae hon (2g USWwae A
Sechass \YH and 354+ ),
pp even with he ul hple
levers  Sele- interes t- aba me
sea teen by Your fal Te 49°
~ Ts yup You Lan in yvocept

thek Ts 15 ght for Prmverive.

N Glendore wil nor Sign 2
Ine GI Shrete -consert form. So such

form does nor heve td be genk One
dissent stops a megishete consent

of ail |
£ Plesse send Me SUmmons S\neel

 
Case: 1:04-cv-03432 Document #: 1 Filed: 05/14/04 Page 14 of 15 PagelD #:14

ark embosed by the cleric ty gether
with tre cwre  cloly form to wee
fre cost OF Semng 2B Summons.

23 A\l de fendents ore Sued
for mal fravel.
PRAIA SA TSR TI id PER ARNIS

 

Case:.1:04-cv-0343

2 ‘Document #; 1 Filed: 05/14/04.Page 15 of 15 PagelD #15

 

 

 
